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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                              :
JAMES BLASSINGAME                             :
404 Kings Farm Blvd, # 1                      :
Rockville, Maryland 20850                     :
                                              :
and                                           :
                                              :
SIDNEY HEMBY                                  :
9608 Lexington Place                          :
Waldorf, MD 20603                             :
                                              :
Plaintiffs,                                   :
                                              :
v.                                            :          Case No.:
                                              :
DONALD J. TRUMP                               :
The Mar-A-Lago Club                           :
1100 S. Ocean Blvd.                           :
Palm Beach, FL 33480                          :
                                              :
Defendant.                                    :


                                          COMPLAINT

1.      This is a complaint for damages by U.S. Capitol Police officers for physical and

        emotional injuries caused by the defendant Donald Trump’s wrongful conduct inciting a

        riot on January 6, 2021, by his followers trying to overturn the results of the 2020

        presidential election.

        I.       THE PARTIES

2.      The plaintiffs James Blassingame and Sidney Hemby are United States Capitol Police

        officers. They are both residents and citizens of Maryland. The defendant Donald J.

        Trump was the 45th President of the United States, from January 20, 2017, to January 20,

        2021. He is a resident and citizen of Florida.
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     II.    JURISDICTION AND VENUE

3.   This Court has jurisdiction under 28 U.S. C. § 1332(a)(1) because the parties are of

     diverse citizenship. The amount in controversy exceeds $75,000, not counting interest

     and costs.

4.   Venue is proper in this judicial district pursuant to 28 U.S.C. §1391(b)(2) because most

     of the events giving rise to the claims occurred in the District of Columbia.

     III.   FACTUAL BACKGROUND

            A.      Introduction

5.   PFC James Blassingame is a 17-year veteran of the United States Capitol Police (USCP).

     PFC Sidney Hemby is an 11-year veteran of the USCP.

6.   Both United States Capitol Police Officers reported for duty on January 6, 2021, without

     any suspicion that they would soon become the targets of Trump’s followers. Those

     followers had assembled in Washington at Trump’s calling for a rally at the White House

     Ellipse that quickly evolved into a violent insurrection at the Capitol.

7.   The insurrectionists were spurred on by Trump’s conduct over many months in getting

     his followers to believe his false allegation that he was about to be forced out of the

     White House because of massive election fraud by his presidential adversary Joe Biden,

     and that the convening of Congress on January 6 to count the Electoral College results

     and declare the winner was their last chance to “stop the steal.”

8.   The insurrectionist mob, which Trump had inflamed, encouraged, incited, directed, and

     aided and abetted, forced its way over and past the plaintiffs and their fellow officers,

     pursuing and attacking them inside and outside the United States Capitol, and causing the

     injuries complained of herein.


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9.    As a result of Trump’s speech on January 6th, 2021, his conduct and statements leading

      up to and on that date, and his failure on that date to take timely action to stop his

      followers from continued violence at the Capitol, Trump committed torts that resulted in

      injuries to United States Capitol Police officers and Metropolitan Police Department

      officers, including the plaintiffs. These torts include:

      •    Directing Assault and Battery
      •    Aiding and Abetting Assault and Battery
      •    Directing Intentional Infliction of Emotional Distress
      •    Liability Per Se for Violation of D.C. Code § 22-1322 – Incitement to Riot
      •    Liability Per Se for Violation of D.C. Code § 22-1321 – Disorderly Conduct

              B.      Trump’s Conduct Leading Up To the 2020 Presidential Election

10.   During his 2016 campaign, and throughout his presidency, Trump had threatened

      violence towards his opponents, encouraged his followers to commit acts of violence, and

      condoned acts of violence by his followers, including white supremacists and far right-

      wing hate groups.

11.   Trump’s stoking of violence by his followers accelerated during the 2020 presidential

      campaign. During the first presidential debate, held on September 29, 2020, Trump

      repeatedly asserted, without evidence, that the election would be fraudulent and rigged:

      •    “There’s fraud. They found them [ballots] in creeks. They found some, just happened
           to have the name Trump just the other day in a wastepaper basket. . .. This is going to
           be a fraud like you’ve never seen;”

      •    “It’s a rigged election;”

      •    “This is not going to end well.”

12.   Asked during that first presidential debate by moderator Chris Wallace to condemn white

      supremacists and far right-wing hate groups, Trump responded, “Proud Boys, stand back

      and stand by.” Minutes later, the Chairman of the Proud Boys, Enrique Tarrio, posted a


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      message on Parler, a social networking service popular among extremist groups, saying,

      “Standing by sir.” The Proud Boys would go on to become a core group of January 6

      insurrectionists.

13.   Wallace asked if Trump would urge his supporters to “stay calm,” following the election,

      and “not to engage in any civil unrest.” Trump responded, “If it’s a fair election I am

      100% on board. But if I see tens of thousands of ballots being manipulated, I can’t go

      along with that.” When Wallace then asked if that meant he was going to “tell your

      people to take to the streets,” Trump did not directly respond, but said, “They

      [Democrats] cheat. They cheat. Hey, they found ballots in a wastepaper basket three days

      ago, and they all had the name military ballots. There were military. They all had the

      name Trump on them.” Trump never provided any real evidence to support his claims

      that Democrats were throwing out ballots that had been cast for him.

14.   In the days leading up to the election, Trump repeated his assertion that his adversaries

      were “trying to steal” the election, which prepared his followers for more such baseless

      assertions once the election was over.

              C.      Trump Lost the 2020 Presidential Election and Immediately Stepped
                      Up His False Claims of a Stolen Election

15.   On the night of the election, at 2:30 a.m. on November 4, in a small rally held at the

      White House, Trump claimed that he had won the election, even though hundreds of

      thousands of votes in key swing states were still being counted. As more votes were

      counted, particularly from high-population areas, it became increasingly apparent that Joe

      Biden had won the election. This prompted Trump to begin repeatedly tweeting that the




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      election was being stolen:




16.   On November 5, Trump made a statement, “If you count the legal votes, I easily win. If

      you count the illegal votes, they can try to steal the election from us.”

17.   On Saturday, November 7, every major news organization in the country called the

      election for Joe Biden after the count in Pennsylvania showed he held an insurmountable

      lead.

              D.     Trump Called for a “Wild” Protest on January 6, 2021, and His
                     Followers Took His Words as a Call to Arms

18.   In the weeks following the election, as several states began recounts, Trump continued

      claiming that the election was being stolen, despite offering no evidence that was found

      meritorious by any of the dozens of courts that considered his and his allies’ post-election

      lawsuits.

19.   Trump’s claims of fraud immediately following the election led to his followers, often

      armed, descending on state capitols and other government buildings throughout the

      country. Between the election on November 3, 2020, and January 6, 2021, there were


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      dozens of protests around the country by Trump’s followers. Two of these events

      occurred in the nation’s capital, and at both of them police officers were injured trying to

      restrain Trump’s followers. Trump knew that both events had turned violent.

20.   Trump promoted a rally planned for November 14, 2020, in Washington, D.C.:




21.   On November 14, 2020, Trump followers gathered at Freedom Plaza in Washington,

      D.C., a few blocks from the White House, in what would be called the first “Million

      MAGA March” (though it was estimated that the crowd numbered in the tens of

      thousands). These included members of far right-wing hate groups, including the Proud

      Boys, Three Percenters, Oath Keepers, and followers of the QAnon conspiracy theory.

22.   Throughout November 14, 2020, Trump issued numerous tweets about the election being

      stolen, while tweeting his support for the rally. He also pushed the idea that rallies like

      this one might result in him “winning” the election:




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23.   Later in the evening on November 14, violence erupted, as four police officers were

      injured and over twenty-one arrests were made, including destruction of property,

      carrying a pistol without a license, inciting violence, and disorderly conduct.

24.   On December 12, 2020, Trump followers again gathered in Washington, D.C., for a

      second “Million MAGA March,” (though again, the actual number of Trump followers

      who attended was in the thousands). Again, Trump supported the rally, tweeting on the

      morning of December 12, “WE HAVE JUST BEGUN TO FIGHT!!!”



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25.   As before, members of far right-wing hate groups appeared at the second “Million

      MAGA March,” and Trump followers clashed with D.C. police, at least eight of whom

      were injured. Four people were stabbed. The police made over thirty arrests including ten

      arrests for assault on a police officer, eleven arrests for simple assault, one arrest for

      assault with a deadly weapon, and two arrests for possession of a prohibited weapon.

26.   Officials warned Trump that his incendiary rhetoric about the election could cause injury

      or death, but he persisted. On December 1, 2020, as Trump placed increasing pressure on

      Georgia election officials to overturn the state’s results which favored Joe Biden, one

      official, Gabriel Sterling, gave a press conference in which he reported on death threats

      made to Georgia election workers, and addressed Trump, saying, “Mr. President, you

      have not condemned these actions. . .. This has to stop. . .. Stop inspiring people to

      commit potential acts of violence. Someone is going to get shot, someone is going to get

      killed. And it’s not right.” Despite this, Trump never condemned the threats made against

      Georgia election officials, and four days before the January 6 insurrection, he implored

      Georgia Secretary of State Brad Raffensperger during a phone call to throw out enough

      lawfully cast votes to swing the election in his favor.

27.   As his efforts with state officials and in the courts failed, Trump began to focus on

      January 6, 2021, the date Congress was set to count the state-certified election results. On

      December 19, 2020, Trump began promoting a January 6 rally to his followers:




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28.   Trump’s December 19th tweet about the January 6th rally was taken by many of his

      supporters as a literal call to arms. For example, within minutes of Trump posting this

      tweet, it was shared on a pro-Trump website called TheDonald.win, with the title:

      “Trump Tweet. Daddy Says Be in DC on Jan 6.” One user “EvilGuy,” said, in response

      to Trump’s call to action, “I will be open carrying and so will my friends. We have been

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      waiting for Trump to say the word. There is [sic] not enough cops in DC to stop what is

      coming.”




29.   Other users on TheDonald.win commented that they understood Trump’s tweet to be

      “marching orders.” One user said, “doesn’t matter if they steal the election, if patriots

      burst into the building by the thousands and cut the heads off the hydra.” Another said,

      “Storm the People’s House and retake from the fuckin’ commies.” A user called

      “loveshock” wrote:




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30.    In the week before January 6, Trump repeatedly encouraged his followers to attend the

       event and continually referred to “Stop the Steal.”




31.   The day before the January 6 session of Congress, Trump gave his followers further

      motivation to “be wild” at the rally, as he promoted the baseless idea that Vice President

      Mike Pence could single-handedly reject the election outcome based on false claims that

      some states wanted to “decertify” or “correct” election results that were not in Trump’s

      favor.




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             E.     January 6, 2021

32.   On January 6, 2021, thousands of Trump’s followers congregated on the National Mall

      near the White House. Many were armed members of far right-wing hate organizations

      like the Proud Boys. Trump issued a directive for Republicans to “FIGHT” early in the

      day:


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33.   United States Capitol Police Officer PFC James Blassingame reported to work at 5:30

      a.m., but on the way to the Capitol, he could see that this was different from the many

      protests he had seen at the Capitol over his years in service.

34.   At 5:15 a.m., he could see large numbers of people walking up D Street, carrying flags

      bearing symbols and slogans including “MAGA” slogans, “Trump 2020” and “Don’t

      Tread on Me.”

35.   Ordinarily, US Capitol Police shifts began with “roll call,” to disseminate information

      from the command staff. On January 6, 2021, Officer Blassingame’s shift omitted “roll

      call.”

36.   Instead, he was sent to staff the steps on Neptune Plaza, at the Library of Congress’s

      Jefferson Building, across the street from the East Front of the Capitol.

37.   By 7 a.m., Officer Blassingame could see that a large group of people was amassing on

      the plaza, directly in front of the East Front of the United States Capitol.




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38.   He said to his USCP colleague: “This isn’t going to be what they think it’s going to be.”

      Throughout the morning, Officer Blassingame was on “outside patrol” on the east side of

      First Street S.E., across from the Capitol building.

39.   Officer Hemby was assigned to the Civil Disturbance Unit, which was also unusual.

      There were no briefings about what he and his fellow officers should expect.

40.   The day immediately felt to Officer Hemby like it would be out of the norm, because of

      the number of people assembling.

41.   He was sent to his post in front of the Rotunda Steps on the East Front of the Capitol,

      behind bicycle racks set up to maintain a perimeter around the building. He was

      instructed only to make sure he and the other officers should “space out,” because they

      did not have enough coverage.

42.   Officer Hemby was used to seeing the plaza on the East Front of the Capitol wide open

      and mostly empty. The presence of small numbers of protestors was not a big concern or

      unusual, but this day, their number and aggressiveness were unprecedented in his

      experience.

43.   On January 6, a stage had been set up by the protesters, and the gathering crowd was

      shouting, singing, praying, swearing, and yelling. Among the more common chants he

      heard were “Stop the Steal,” and “Fight for Trump.”

44.   Someone had set up speakers, from which Officer Hemby could hear Trump’s speeches

      from prior dates being broadcast.

45.   Beginning at 7 a.m., speakers took to the stage at the Ellipse, just south of the White

      House, where thousands of protesters had gathered to listen. The rally was broadcast live

      on several news outlets, and could be watched streaming over the internet, and could



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      therefore be watched by those protesters who were not on the Ellipse itself, including

      those already near the Capitol. Numerous Trump allies spoke before Trump took the

      stage, all of whom repeated the message that the election had been stolen, that the

      country as they knew it was about to fall, and that it was up to the crowd to save the

      country, in the words of Rudy Giuliani, in a “trial by combat.”

46.   Trump took the stage at noon on January 6, 2021. In an hour and fifteen-minute speech,

      Trump repeatedly claimed that the election had been “rigged” and “stolen,” and said:

      •    “They rigged it like they’ve never rigged an election before;”
      •    “We will never concede, it doesn’t happen. You don’t concede when there’s theft
           involved. Our country has had enough. We will not take it anymore and that’s what
           this is all about. To use a favorite term that all of you people really came up with, we
           will stop the steal;”

      •    “When you catch somebody in a fraud, you’re allowed to go by very different rules;”

      •    “You’ll never take back our country with weakness. You have to show strength, and
           you have to be strong;”

      •    “And we fight. We fight like hell. And if you don’t fight like hell, you’re not going to
           have a country anymore;”

      •    “And we’re going to the Capitol … But we’re going to try and give our Republicans,
           the weak ones because the strong ones don’t need any of our help. We’re going to try
           and give them the kind of pride and boldness that they need to take back our
           country.”

47.   As he was making these remarks, Trump’s followers on the Ellipse began chanting “Fight

      like Hell,” and “Fight for Trump.” After he was done speaking, they changed to, “Storm

      the Capitol,” “Invade the Capitol Building,” and “Take the Capitol right now.”

48.   At the Capitol, Officers Blassingame and Hemby watched the crowd swell on the east

      side of the Capitol.

49.   While Trump was speaking, at 12:49 p.m., Capitol Police responded to a report of a

      possible explosive device at the Republican National Committee Headquarters, which
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      was later identified as a pipe bomb. Shortly afterward, a second pipe bomb was found at

      the headquarters of the Democratic National Committee. Both were three blocks from the

      Capitol.

50.   Both Officers Blassingame and Hemby heard the “10-100” radio call for the suspicious

      packages at the Republican and Democratic National Headquarters.

51.   As Trump concluded his speech near the White House, his followers who were already at

      the Capitol became insurrectionists. Thousands of them broke through police barricades

      and stormed up the steps of the Capitol on both fronts of the building, attacking and

      injuring police officers, including the plaintiffs. The insurrectionists finally entered the

      Capitol itself, intent on committing further acts of violence against elected officials,

      where the insurrectionists continued to attack police officers. Many of these

      insurrectionists have since been charged with crimes.

52.   Some of these protesters broke through the outer perimeter of barricades west of the

      Capitol building while Trump was still speaking, at 12:53 p.m. By 1:03 p.m., they had

      pushed Capitol Police onto the west Capitol steps. Many of them wore Trump hats and

      shirts, waved Trump flags and bore Trump insignia around their necks. As the

      insurrectionists began battling with police, one was overheard saying, “It’s us versus the

      cops!” A man yelled at police through a megaphone plastered with stickers from

      “InfoWars,” a website operated by the right-wing conspiracy theorist Alex Jones, “You

      are traitors to the country!”

53.   At 1:00 p.m., Capitol Police Chief Steven Sund called for backup from the Metropolitan

      Police Department, which deployed approximately 100 officers to the Capitol grounds

      within minutes. Shortly thereafter, Chief Sund asked House Sergeant at Arms Paul Irving



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      and Senate Sergeant at Arms Michael Stenger to declare an emergency and call for the

      deployment of the National Guard. Shortly after that, Officer Hemby could hear on his

      radio that crowds on the West Front of the Capitol were trying to push through the bike

      rack barriers and the officers posted there.

54.   The crowd on the East Front was growing throughout the 1 o’clock hour. Officer Hemby

      and other officers were spaced out along the line of bike racks, responding to protesters’

      periodic attempts to push through the bike racks.

55.   By 1:30 p.m., on the West Front of the Capitol, Capitol Police officers were forced by

      insurrectionists to the top of the Capitol steps. Meantime, Trump’s speech had ended, and

      many more thousands of protesters began marching toward the Capitol. About 40 percent

      of the phones tracked near the rally stage on the National Mall during the speeches were

      found in and around the Capitol during the insurrection, showing that many of those who

      were listening to Trump’s speech followed his direction to march on the Capitol.

56.   At around 1:45 p.m., the insurrectionists overcame the Capitol Police officers protecting

      the Capitol’s west steps, and the officers pulled back into the Capitol itself.

57.   Officer Blassingame had been called to the Capitol from his post across the plaza on the

      East Front and was inside the Capitol building when he heard on his radio that the West

      Front steps had been overtaken by the insurrectionists.

58.   Officer Blassingame looked out the west doors and was shocked to see that four of his

      colleagues were pinned to the doors by a large and surging crowd of aggressive people

      dressed in Trump and MAGA gear and hats and carrying large Trump campaign flags.




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59.     Officer Hemby heard in real time on his radio when the officers on the West Front were

        overcome, and immediately after, just before 2 p.m., the crowd began to swell and surge

        on the East Front.

60.     Officer Hemby believed that more officers would come to help, but because the West

        Front had already been breached and officers were being attacked on that side of the

        Capitol, no one else was available.

61.     Officer Hemby looked to his left and saw that the crowd had broken through the barriers.

        A tidal wave of insurrectionists attacked the plaza steps, and due to the size and

        aggressiveness of the crowd, Officer Hemby and his colleagues were quickly

        outnumbered.

62.     As people dressed in Trump gear and carrying large Trump flags stormed through the

        barriers, Officer Hemby knew he and the other officers would be unable to hold them

        against the relentless pushing and shoving.

63.     Officer Hemby ran to the East Front stairs to try to stop the crowd, but it was too late, and

        the crowd was too large and aggressive.

64.     The crowd chased him and his fellow officers to the top of the stairs and forced them

        against the doors.

65.     At 1:49 p.m.1, after Trump had returned to the White House, and was reportedly watching

        on TV as events were unfolding at the Capitol, he tweeted out the entirety of his speech:




1
 On January 8, 2021, Twitter permanently suspended Donald Trump’s personal account, removing his tweets from
view. Publicly available archives of Trump’s tweets are limited and as a result, some of the images of Trump’s
tweets used in this Complaint, such as the one in this paragraph, feature timestamps from other than the Eastern
Time Zone.

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66.   At 1:59 p.m., insurrectionists pushed Capitol Police to the top of the east Capitol steps,

      and by 2:10 p.m., insurrectionists began attempting to break into the building through

      windows on the west side.

67.   Officer Hemby was crushed against the doors on the east side trying to hold the

      insurrectionists back. Over and over, he tried to tell the insurrectionists that the doors

      opened outward and that pressing him into the door would do no good.

68.   But the insurrectionists continued to scream, “Fight for Trump,” “Stop the Steal,” and

      various other slogans, as they struck him with their fists and whatever they had in their

      hands. Things were being thrown at him, and he was sprayed with chemicals that irritated

      his eyes, skin, and throat.




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69.   Some of the mob wore military-style tactical gear. One man had gloves with hard

      knuckles. One attacker dropped a knife, which a fellow officer kicked behind the officers

      and out of the insurrectionist’s reach.

70.   One insurrectionist screamed in Officer Hemby’s face that he was “disrespecting the

      badge,” and that the officers were “not patriots.”

71.   Eventually, the insurrectionists did get inside the Capitol from the East Front. For hours,

      as the grounds were cleared of Defendant’s followers, Officer Hemby continued to man

      his post at the top of the Rotunda steps outside the East Front of the Capitol. The

      insurrectionists were demanding that Officer Hemby and his fellow officers get out of the

      way so the mob could get to the Congress members. They were trying to convince

      officers to join their side and fight against Congress. Officer Hemby and his fellow

      officers stood their ground.

72.   Officer Hemby was attacked relentlessly. He was bleeding from a cut located less than an

      inch from his eye. He had cuts and abrasions on his face and hands and his body was

      pinned against a large metal door, fending off attacks.

73.   His primary focus was to survive and simply get home.

74.   By 2:12 p.m., the insurrectionists entered the building through broken windows on both

      sides of the Capitol, opening up a door for additional insurrectionists to enter.

75.   Some of those who entered had guns. Some were in helmets and tactical gear. Many

      carried baseball bats, Trump flags, hockey sticks, fire extinguishers, stolen police shields,

      collapsible batons, and other weapons.

76.   Shortly thereafter, Vice President Pence was removed from the Senate chamber and the

      Senate was called into recess. Capitol Police confronted the insurrectionists but were



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      greatly outnumbered. Outside the Capitol, the mob shouted, “Hang Mike Pence!” and had

      erected a gallows.

77.   Inside the Capitol, the insurrectionists continued to physically attack Capitol Police,

      while taunting them, saying, among other things, “You’re outnumbered. There’s a

      fucking million of us out there. And we are listening to Trump – your boss,” “We can

      take you out,” and, “We were invited here by the President of the United States.”

78.   As Officers James Blassingame and Sidney Hemby attempted to protect themselves from

      the insurrectionists, Trump watched the events unfold on live television. Those who were

      with him claimed that Trump was “delighted” and was “confused about why other people

      on his team weren’t as excited as he was.” Others described Trump as “borderline

      enthusiastic” about the unfolding violence.

79.   Officer Blassingame and the small group of officers with him inside the Capitol were

      powerless to help the officers he could see on the other side of the doors, pinned to the

      West Front of the Capitol building.

80.   Officer Blassingame heard the call: “They’re coming through the windows!” and ran to

      the stairs to the Crypt area on the first floor, directly below the Rotunda.

81.   Inside the Crypt with a small group of USCP officers, Officer Blassingame looked north

      and saw a sea of people running toward him.

82.   The hallway to the north of the Crypt was a choking point, and as the crowd entered the

      Crypt, it quickly filled with insurrectionists.

83.   Officer Blassingame was one of just eight or nine officers facing the insurrectionists

      charging into the Crypt. The USCP officers tried to form a line against the




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      insurrectionists but were dramatically outnumbered and overwhelmed as they became the

      targets of the mob’s attack.

84.   The insurrectionists were enraged and inflamed – chanting and shouting “Stop the Steal!”

      “We’re patriots!” “It’s our right!” and “Our House!”

85.   The insurrectionists were throwing items, and striking Officer Blassingame and the other

      USCP officers with their fists and weapons.

86.   Among the weapons Officer Blassingame could see were flagpoles like those he had seen

      on D Street early in the morning; water bottles; bottles of other unknown liquids; parts of

      signs they were ripping from the walls of the Crypt and hallway; and flags, flagpoles, and

      rope-line posts that had been taken from the Crypt and other parts of the Capitol building.

87.   The insurrectionists were clad in and carrying Trump, QAnon, Proud Boys, and Oath

      Keepers-themed clothing, hats, and flags.

88.   Foremost in Officer Blassingame’s mind was the terrifying certainty that the

      insurrectionists were interested in him and the other officers not going home to their

      families that night.

89.   The front line of insurrectionists was being pressed from behind by waves of newly

      arriving insurrectionists.

90.   Then a forceful surge of insurrectionists pushed forward and slammed Officer

      Blassingame against a stone column. He struck his spine and the back of his head and

      was unable to move.

91.   For the first time in his life, people were yelling into his face, calling him a “nigger”

      repeatedly and throughout the attack in the Crypt. He lost count of the many times the

      racial slur was hurled at him.



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92.   Insurrectionists threatened him they would “fuck you up if you don’t get out of our way,”

      and to “get down or I’ll put you down.”

93.   The insurrectionists struck Officer Blassingame in his face, head, chest, arms, and what

      felt like every part of his body. Insurrectionists used their fists and had weapons that

      ranged from flagpoles to stanchions and building directional signs, water bottles and

      other objects he could not identify.

94.   The threats and attacks on Officer Blassingame seemed endless.

95.   Officer Blassingame’s sole focus was to do what he could to survive.

96.   Eventually, he was able to unpin himself from the column and move toward the South

      hallway, where he thought there might be more officers. As he moved through the

      hallway, he tried to bring other officers with him.

97.   Once free from the insurrectionist mob, Officer Blassingame went toward Representative

      Steve Scalise’s office in the Capitol to assist the evacuation of members, which was

      being staged in the Ways and Means Committee meeting room.

98.   In a phone call to the White House, House Minority Leader Kevin McCarthy begged

      Trump to call off the insurrectionists, pleading with him that the rioters were all Trump

      followers. Trump refused to do so, and told McCarthy, “Well, Kevin, I guess these

      people are more upset about the election than you are.”

99.   As Trump watched his followers (to whom he had lied when he told them that he would

      be joining them in walking to the Capitol) terrorize the Capitol and attack the police who

      guarded it, Trump’s advisors urged him to make a statement calling on his followers to

      stop. Trump chose not to condemn the attack. Instead, at 2:24 p.m., Trump tweeted, and




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       further incited his followers against his own Vice President whose life was being

       threatened:




100.   An insurrectionist at the Capitol read this tweet aloud from the steps of the Capitol.

       Insurrectionists then chanted, “Mike Pence is a traitor,” and continued their assault.

101.   Then, at 2:38 p.m., an hour after the first breach, Trump still chose not to call off the

       attack, but instead issued a banal statement of support for law enforcement, and stated,

       “stay peaceful” when he could see that his followers at the Capitol were anything but.




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102.   At around 2:44 p.m., Ashli Babbitt, an Air Force veteran and Trump follower, was shot

       and killed as she attempted to climb through a broken window in a set of locked doors

       that led to where House members were fleeing.

103.   Officer Blassingame was at the Ways and Means room and heard that gunshot upstairs.

       At the time, he did not have any idea who had been shot or had done the shooting. He did

       not know whether it was a singular event or the beginning of something even more

       dangerous than he had already faced.

104.   His reflexive reaction to the gunshot sent him further into “survival mode.” He rapidly

       assessed whether it would be necessary to draw guns. But even in the face of that reflex,

       he continued to help protect members of Congress who were sheltering in the Ways and

       Means room.

105.   He remained locked down in the Ways and Means room with members for hours, in a

       scenario that presented a different threat to his health and safety. Officer Blassingame

       was acutely aware that many in the Ways and Means room were neither masked nor

       socially distanced from Covid-19 transmission. He had no option but to remain in place.

106.   By 3:00 p.m., the District of Columbia local government issued a notice of an emergency

       citywide curfew to begin at 6 p.m.

107.   Meanwhile, Trump’s followers at the Capitol shouted, “We want Trump!” They attacked

       officers with rocks, bottles, fire extinguishers, metal poles, bear spray, and pepper spray.

       Officers reported being “flanked” and “los[ing] the line.” For hours, officers were forced

       into hand-to-hand combat to prevent more rioters from entering the Capitol.

108.   At 4:17 p.m., Trump tweeted a recorded video directed to his followers as they continued

       to ransack the Capitol. In the video, Trump told the insurrectionists, “I know your pain, I



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       know you’re hurt,” and repeated his “big lie” about the stolen election that had driven the

       insurrectionists to the Capitol in the first place. He then said to his followers who had

       invaded the Capitol, assaulted and severely injured police officers, destroyed property,

       and generally tried to overthrow the Congress as it carried out its duty of certifying a

       presidential election:

       “Go home. We love you. You’re very special.”

109.   At around 5:40 p.m., Capitol Police, with reinforcements from the Metropolitan Police

       and the National Guard, finally were able to begin to clear the Capitol. By that time, 140

       police officers were physically hurt, and many more would be emotionally scarred. One

       Capitol police officer died of injuries he suffered on January 6 and two others took their

       own lives shortly thereafter.

110.   After the world had just watched the insurrectionists attack police, threaten members of

       Congress, and destroy property within the Capitol, Trump explained the day's events,

       once again reiterating his “big lie” and celebrating his followers’ actions:




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111.   At about 7:30 p.m., Officer Blassingame was finally able to leave the Ways and Means

       room.

112.   As he walked through the halls of the Capitol, the aerosol chemicals from the bear spray,

       pepper spray, and tear gas burned his eyes and throat. It was so strong, that even hours

       after he left the Capitol, he could taste it in his mouth.

113.   Throughout the dangerous and chaotic day, his family could see some of what was

       happening to Officer Blassingame in real time, but he was unable to communicate to

       comfort and reassure his wife and family in real time.

114.   It was not clear to him on January 6 that he would survive to make it home.

115.   He did finally get home at midnight, but only to return for a 7 a.m. shift the next morning,

       which would be the beginning of a month of twelve- to sixteen-hour shifts.

116.   Officer Blassingame suffered injuries to his head and back. He continues to have pain in

       his back, but the severe emotional toll the January 6 insurrection has taken on Officer

       Blassingame continues to reveal itself.

117.   He is haunted by the memory of being attacked, and of the sensory impacts – the sights,

       sounds, smells and even tastes of the attack remain close to the surface. He experiences

       guilt of being unable to help his colleagues who were simultaneously being attacked; and

       of surviving where other colleagues did not.

118.   The weight on Officer Blassingame has been heavy and pervasive. He was not able to

       sleep and he could not talk about what happened, even with his wife and friends.

119.   He suffered from depression that he could not address because he was too consumed with

       a sense of obligation to continue on with his professional responsibilities. Because the




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       attack happened in the place to which he reports daily, he is unable to avoid most of the

       triggers of his emotional reactions.

120.   Officer Hemby remained on the East Front of the Capitol until the complex was cleared

       of insurrectionists.

121.   He was unable to seek medical assistance until after 9 p.m.

122.   At first, Officer Hemby did not fully appreciate how physically and mentally exhausted

       he was.

123.   When he got home on the night of January 6, 2021, he was in a heightened emotional

       state and unable to sleep. He relived the moments he was under attack. He felt unsafe and

       each time he drifted off to sleep, he was awakened by the fear that people were trying to

       break into his home.

124.   As a result of the attack, Officer Hemby’s left hand and left knee became swollen and

       painful. He was sprayed in the face and body with chemical sprays. His back and neck

       ached, and his skin burned.

125.   Officer Hemby is under the care or an orthopedic medical specialist and receives physical

       therapy two to three days per week for his neck and back.

126.   He continues to sleep poorly and feels hyper-aware and on high alert during his waking

       hours.

127.   Officer Hemby normally has a calm demeanor but has struggled to manage the emotional

       fallout from being relentlessly attacked. He has spoken with Employee Assistance

       Program counselors to talk about managing the emotional impact of being targeted and

       dealing with the level of aggression to which he was subjected.




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128.   But for the fact that so many of his fellow officers were also injured and unable to report

       for duty, Officer Hemby would have used leave to recover from his injuries.

              F.      Lawmakers in the Capitol Recognized Trump as the Instigator of the
                      Attack

129.   In the aftermath of the January 6 insurrection, leaders within Trump’s own party publicly

       said that Trump’s “big lie” about the election and his provocation of his followers caused

       the January 6 insurrection.

       a. In a February 18, 2021 statement, Sen. Mitt Romney (R – Utah) said, “I hear many

          calls for unity. It is apparent that calling for unity while at the same time appeasing

          the big lie of a stolen election is a fraud. It is the lie that caused the division. It is in

          the service of that lie that a mob invaded the Capitol on January 6th.”

       b. On January 12, 2021, Liz Cheney (R-Wyo.), the third highest ranking Republican in

          the House of Representatives, said, “The President of the United States summoned

          this mob, assembled the mob, and lit the flame of this attack. Everything that

          followed was his doing. None of this would have happened without the President.

          The President could have immediately and forcefully intervened to stop the violence.

          He did not. There has never been a greater betrayal by a President of the United

          States of his office and his oath to the Constitution.”

       c. On Feb. 13, 2021, Senator Mitch McConnell (R-Ky.) said:

              There’s no question, none, that President Trump is practically and morally
              responsible for provoking the events of the day.

              The people who stormed this building believed they were acting on the
              wishes and instructions of their president, and having that belief was a
              foreseeable consequence of the growing crescendo of false statements,
              conspiracy theories and reckless hyperbole which the defeated president
              kept shouting into the largest megaphone on planet Earth. He did not do his
              job. He didn’t take steps so federal law could be faithfully executed and
              order restored. No. Instead, according to public reports, he watched
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              television happily – happily – as the chaos unfolded. Even after it was clear
              to any reasonable observer that Vice President Pence was in serious danger.

       McConnell also said:

              President Trump is still liable for everything he did while he was in office,
              as an ordinary citizen, unless the statute of limitations has run, still liable
              for everything he did while in office, didn't get away with anything yet –
              yet.

              We have a criminal justice system in this country. We have civil litigation.
              And former presidents are not immune from being held accountable by
              either one.

              G.      The Insurrectionists Have Since Stated They Stormed the Capitol at
                      Trump’s Direction

130.   Many of the rioters cited Trump’s words and conduct as the inspiration for their violent

       actions. For example, the day after the insurrection, Jacob Angeli Chansley (the “QAnon

       Shaman”) called the FBI to tell them that “he came as a part of a group effort, with other

       ‘patriots’ from Arizona, at the request of the President that all ‘patriots’ come to D.C. on

       January 6, 2021.” Later, Chansley’s lawyer Al Watkins said in an interview, “Let's roll

       the tape. Let’s roll the months of lies, and misrepresentations and horrific innuendo and

       hyperbolic speech by our president designed to inflame, enrage, motivate . . . What’s

       really curious is the reality that our president, as a matter of public record, invited these

       individuals, as president, to walk down to the Capitol with him.” He also said that

       Chansley “regrets very much having . . . just been duped by the president.”

131.   Attorneys for Proud Boys member William Chrestman, said in court papers that Trump

       gave the mob “explicit permission and encouragement” to do what they did, providing

       those who obeyed him with “a viable defense against criminal liability.” They further

       stated on Chrestman’s behalf, “It is an astounding thing to imagine storming the United

       States Capitol with sticks and flags and bear spray, arrayed against armed and highly

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       trained law enforcement. Only someone who thought they had an official endorsement

       would even attempt such a thing. And a Proud Boy who had been paying attention would

       very much believe he did.”

       IV.     LIABILITY

                                          COUNT ONE
                                 (Directing Assault and Battery)

132.   James Blassingame and Sidney Hemby adopt and incorporate paragraphs 1 through 131

       as if set forth fully herein and further state:

133.   Through his words and conduct described herein, Defendant, Donald J. Trump, directed

       and ratified the intentional torts of assault and battery committed by his followers on

       James Blassingame and Sidney Hemby.

134.   As President of the United States and leader to his followers, who traveled from around

       the country to the nation’s capital at Trump’s invitation for the January 6 event, Trump

       was in a position of authority over his followers, who committed assault and battery on

       James Blassingame and Sidney Hemby.

135.   Trump, by his words and conduct, directed the mob that stormed the Capitol and

       assaulted and battered James Blassingame and Sidney Hemby.

136.   For several hours after the mob had stormed the Capitol, Trump had the continuing

       ability to issue statements through traditional and social media but refused to

       communicate anything to his followers that might discourage their relentless assault and

       battery on James Blassingame and Sidney Hemby and their fellow officers at the Capitol.

       Trump thereby ratified the conduct of his followers and ensured that the assaults on the

       plaintiffs and fellow officers would last much longer, worsening the physical and

       emotional injuries of the plaintiffs and other officers.

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137.   When he finally did make statements late in the afternoon, Trump further ratified the

       tortious conduct when he again said that the election had been stolen by fraud, and that

       his followers had every reason to be angry, and by announcing support, praise and love

       for his followers.

138.   It appeared to James Blassingame and Sidney Hemby that Trump’s followers then had

       the ability to carry out the harmful and offensive contact.

139.   The words and conduct of Trump’s followers caused James Blassingame and Sidney

       Hemby to fear imminent physical harm.

140.   Trump’s followers committed battery, and unlawfully and intentionally touched and used

       force on Plaintiffs in a harmful, offensive, and insulting way.

141.   Trump’s followers directly contacted, struck, put into motion objects that directly hit

       James Blassingame and Sidney Hemby, and sprayed them with chemical agents that

       burned their exposed eyes, face, and body.

142.   James Blassingame and Sidney Hemby suffered physical injuries because of the batteries

       to which they were subjected.

143.   Had Trump committed directly the conduct committed by his followers, it would have

       subjected Trump to direct liability.

144.   The unlawful and intentional acts that Defendant directed his followers to commit on

       January 6, 2021, were a direct and proximate cause of James Blassingame’s and Sidney

       Hemby’s injuries, pain, suffering, and other damages.

                                         COUNT TWO
                            (Aiding and Abetting Assault and Battery)

145.   James Blassingame and Sidney Hemby adopt and incorporate paragraphs 1 through 144

       as if set forth fully herein and further state:

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146.   Through his words and conduct described throughout this Complaint, Defendant, Donald

       J. Trump, aided and abetted the intentional torts of assault and battery committed by his

       followers on James Blassingame and Sidney Hemby, as described in Count One.

147.   Trump aided and abetted his followers’ assault and battery on James Blassingame and

       Sidney Hemby through his suggestive words and encouragement leading up to and on

       January 6, 2021, which were spoken from his position of authority and gave his message

       extra weight.

148.   Trump’s words and encouragement leading up to and on January 6, 2021, created a

       foreseeable risk of harm to James Blassingame and Sidney Hemby.

149.   Had Trump committed directly the conduct committed by his followers, it would have

       subjected Trump to direct liability.

150.   The unlawful and intentional acts that Trump aided and abetted his followers to commit

       on January 6, 2021, were a direct and proximate cause of James Blassingame’s and

       Sidney Hemby’s injuries, pain, suffering, and other damages.

                                      COUNT THREE
                   (Directing Intentional Infliction of Emotional Distress)

151.   James Blassingame adopts and incorporates paragraphs 1 through 150 as if set forth fully

       herein and further states:

152.   Through his words and conduct described herein, Defendant, Donald J. Trump, directed

       the Intentional Infliction of Emotional Distress committed by his followers on James

       Blassingame.

153.   Defendant further committed the intentional tort of Intentional Infliction of Emotional

       Distress, by his ratification of his followers’ words and conduct directed at James

       Blassingame as described herein.

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154.   Trump’s followers engaged in conduct that was extreme and outrageous, and so beyond

       the bounds of decency that it is regarded as atrocious and utterly intolerable in a civilized

       society.

155.   In the United States Capitol Crypt, Trump’s followers hurled racial slurs and threatened

       James Blassingame, calling him a “nigger” more times than he could count, while he was

       under direct attack.

156.   This extreme and outrageous conduct was intended to cause James Blassingame’s

       emotional distress or was carried out with reckless disregard of whether the conduct

       would cause James Blassingame to suffer emotional distress.

157.   As a result of this extreme and outrageous conduct, James Blassingame suffered severe

       emotional distress. He feared for his life and worried he would not be able to return home

       to his family that night, has had sleepless nights, and relives the extreme and outrageous

       conduct to which he was subjected on January 6, 2021.

158.   Defendant’s refusal to condemn his followers’ conduct for several hours, even as their

       extreme and outrageous conduct was being broadcast in real time, was a ratification of

       that conduct.

159.   Defendant further ratified the conduct when he announced support, praise and even love

       for his followers, and repeated that they had every reason to be angry and that the

       election had been stolen by fraud.

160.   The Defendant is liable for the severe emotional distress that was intentionally inflicted

       on James Blassingame as if he had committed the conduct himself.

161.   For all these reasons, the Defendant is liable to James Blassingame for intentional

       infliction of emotional distress and for all damages arising therefrom.



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                                        COUNT FOUR
       (Violation of a Public Safety Statute: D.C. Code § 22-1322 – Incitement to Riot)

162.   James Blassingame and Sidney Hemby adopt and incorporate paragraphs 1 through 161

       as if set forth fully herein and further state:

163.   Defendant, Donald J. Trump, is per se liable for his violation of two District of Columbia

       public safety statutes on January 6, 2021.

164.   D.C. Code § 22-1322(b) makes it a criminal offense to willfully incite or urge other

       persons to engage in a riot.

165.   The statute defines a “riot” as “a public disturbance involving an assemblage of 5 or more

       persons which by tumultuous and violent conduct or the threat thereof creates grave

       danger of damage or injury to property or persons.” D.C. Code § 22-1322(a).

166.   D.C. Code § 22-1322 was enacted to protect public safety officials and others from

       violence caused by rioting.

167.   Through his words in the months following the 2020 presidential election and speaking

       from his position of authority over his followers, Trump planted the seeds to create a

       public disturbance which by tumultuous and violent conduct or the threat thereof would

       create grave danger or injury to property and persons.

168.   More particularly, on the morning of January 6, 2021, Trump addressed his followers at

       the Ellipse, and explicitly directed them to march to the Capitol.

169.   Defendant’s followers, already primed by his months of inflammatory rhetoric, were

       spurred to direct action.

170.   Defendant’s words and conduct violated D.C. Code §§ 22-1322(b) and were a cause of

       tumultuous and violent conduct that created grave danger of damage or injury to property

       or persons, including James Blassingame and Sidney Hemby.

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171.   Defendant, by violating this statute, is liable per se and thereby liable for James

       Blassingame’s and Sidney Hemby’s injuries and damages.

                                      COUNT FIVE
                           (Violation of a Public Safety Statute:
               D.C. Code § 22-1321 (a)(1), (a)(2), and (b)Disorderly Conduct)

172.   James Blassingame and Sidney Hemby adopt and incorporate paragraphs 1 through 171

       as if set forth fully herein and further state:

173.   Defendant, Donald J. Trump, is per se liable for his violation of two District of Columbia

       public safety statutes on January 6, 2021.

174.   On January 6, 2021, there was in effect in the District of Columbia a statute that was

       enacted to protect James Blassingame and Sidney Hemby and persons in their position,

       and to prevent the type of events that are described herein.

175.   D.C. Code § 22-1321 (a)(1) makes it unlawful, in any place open to the general public,

       for a person to intentionally or recklessly act in such a manner as to cause another person

       to be in reasonable fear that a person is likely to be harmed.

176.   D.C. Code § 22-1321 (a)(2) makes it unlawful, in any place open to the general public,

       for a person to incite or provoke violence where there is a likelihood that such violence

       will ensue.

177.   D.C. Code § 22-1321(b) makes it unlawful “for a person to engage in loud, threatening,

       or abusive language, or disruptive conduct, with the intent and effect of impeding or

       disrupting the orderly conduct of a lawful public gathering.”

178.   James Blassingame and Sidney Hemby are among the members of the class that the

       statute was enacted to protect.




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179.   Through his words in the months following the 2020 presidential election and speaking

       from his position of authority over his followers, Defendant planted the seeds that made

       likely the violence that was unleashed on James Blassingame and Sidney Hemby on

       January 6, 2021.

180.   Defendant repeatedly asserted that he and his followers were victims of a massive fraud

       and conspiracy that had resulted in the theft of the 2020 Presidential election.

181.   More particularly, on the morning of January 6, 2021, Defendant addressed his followers

       at the Ellipse, and explicitly directed them to march to the Capitol.

182.   Defendant’s words, when he spoke them, were words likely to produce violence in

       others.

183.   Defendant’s followers, already primed by his months of inflammatory rhetoric, were

       spurred to direct action.

184.   By directing his followers as he did leading up to and on January 6, 2021, Defendant

       intentionally and recklessly acted in such a manner as to cause James Blassingame and

       Sidney Hemby to be in reasonable fear that they were likely to be harmed.

185.   Defendant’s provocative words and actions leading up to and on January 6, 2021, were

       likely to incite and provoke violence in others and did in fact incite and provoke violence

       directed at James Blassingame and Sidney Hemby.

186.   Defendant’s loud, threatening, and abusive language and conduct leading up to and on

       January 6, 2021, were intended to and did impede and disrupt the orderly conduct of the

       lawful public gathering to count the certified electoral votes to declare Joe Biden the

       winner of the 2020 presidential election.




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187.   Defendant’s words and conduct in the months before and on January 6, 2021, violated

       D.C. Code § 1321 and were a cause of the violence that ensued in places in the District of

       Columbia open to the general public.

188.   Defendant’s violation of D.C. Code § 1321 caused severe injury and damages to James

       Blassingame and Sidney Hemby.

189.   Defendant, by violating this statute, is per se liable for James Blassingame and Sidney

       Hemby’s injuries and damages.

                                         COUNT FIVE
                                       (Punitive Damages)

190.   James Blassingame and Sidney Hemby adopt and incorporate paragraphs 1 through 189

       as if set forth fully herein.

191.   Trump’s words and conduct leading up to and on January 6, 2021, and his ratification

       through silence when words and action were necessary, and his further ratification by

       direct praise of the rioters, as set forth herein, demonstrated a willful and wanton

       disregard for and a reckless indifference to James Blassingame’s and Sidney Hemby’s

       safety and that of their fellow officers.

192.   Trump’s words and conduct leading up to and on January 6, 2021, were intentionally

       tortious and in violation of D.C. statutes.

193.   His words and conduct gave direction to and aided and abetted his followers in the

       commission of intentional torts of assault, battery, and intentional infliction of emotional

       distress that caused injury to James Blassingame and Sidney Hemby.

194.   Those words and conduct incited the riot and disorderly conduct in violation of D.C. law

       on January 6, 2021, that caused injury to James Blassingame and Sidney Hemby.




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195.   Accordingly, James Blassingame and Sidney Hemby request punitive damages in an

       amount consistent with the evidence to be shown at trial against Trump to punish him for

       his intentional and wanton and reckless conduct, and to deter others from engaging in

       similar behavior.

       V.      PRAYER FOR RELIEF

       WHEREFORE, James Blassingame and Sidney Hemby demand an award of the

following relief:

       a.      Judgment against Donald J. Trump on all Counts set forth herein;

       b.      Compensatory damages in an amount consistent with the evidence to be shown at

               trial, in excess of $75,000 for each of them, plus interest and costs;

       c.      Punitive damages in an amount consistent with the evidence to be shown at trial,

               plus interest and costs; and

       d.      Such other relief as the court and jury deem necessary and just.

                                              Respectfully submitted,

                                              /s/ Patrick A. Malone
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                                        JURY DEMAND

       The plaintiffs demand trial by jury.

                                              /s/ Patrick A. Malone
                                              Patrick A. Malone, Esq.


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